   Case 23-00067-pmm          Doc 2     Filed 10/11/23 Entered 10/11/23 07:58:24               Desc Summon
                                             in AP Page 1 of 1
Form L247 (3/23)−doc 2


                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Mark Leslie Kennedy                              )           Case No. 23−11688−pmm
    Debtor(s)                                           )           Chapter 7
                                                        )
    Nancy Berrian                                       )
    Plaintiff                                           )
                                                        )           Adversary No. 23−00067−pmm
    v.                                                  )
                                                        )
    Mark Leslie Kennedy                                 )
    Defendant                                           )



                            SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court on or before November 13, 2023, except that the United States and its
offices and agencies shall submit a motion or answer to the complaint on or before November 15, 2023.
     Address of the clerk                                      Eastern District of Pennsylvania
                                                               United States Bankruptcy Court
                                                               Office of the Clerk, Gateway Building
                                                               201 Penn Street, 1st Floor
                                                               Reading, PA 19601
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

     Name/Address of Plaintiff's Attorney                      STANLEY J. ELLENBERG
                                                               Law Offices of Standley J. Ellenberg
                                                               1500 JFK Blvd.
                                                               Suite 1825
                                                               Philadelphia, PA 19102

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




                                                               For The Court

                                                               Timothy B. McGrath
                                                               Clerk of Court
Date: October 11, 2023
